
SCOTT, J.,
delivered the opinion of the court. It appears from the record and proceedings of the examining court, and the indictments, taken together, that the latter are founded on a single criminal' transaction ; and although the acts charged in the several indictments, are each criminal in themselves, and may be prosecuted as separate offences, yet they might all have been included in one indictment, and the prisoner compelled to submit to a trial by one jury. It is a fair presumption, *that the commonwealth has put him upon his trial in the case in which the proof against him was strongest: and the jury having on a fair and full investigation found him not guilty in that case, furnishes such a presumption of his innocence in the others, as entitles him to bail.
The prisoner was thereupon bailed, upon a recognizance of himself in the penalty of 10,000 dollars, and sufficient sureties in the same sum, that he should appear and answer the remaining indictments in the circuit superior court.
